                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

    MISSOURI PRIMATE FOUNDATION,                   )
    et al.,                                        )
                                                   )
                 Plaintiffs and                    )
                 Counterclaim Defendants,          )
                                                   )
    v.                                             )         Case No. 4:16-cv-02163
                                                   )
    PEOPLE FOR THE ETHICAL                         )
    TREATMENT OF ANIMALS, INC., et al.,            )
                                                   )
                 Defendants and                    )
                 Counterclaim Plaintiffs.          )

SUPPLEMENTAL MEMORANDUM IN FURTHER SUPPORT OF
COUNTERCLAIM PLAINTIFFS’ MOTION TO COMPEL INSPECTION, OR, IN
                THE ALTERNATIVE, FOR ENTRY OF DEFAULT AGAINST
                      COUNTERCLAIM DEFENDANT SAWYER

I. INTRODUCTION

         Counterclaim Plaintiffs People for the Ethical Treatment of Animals, Inc. and Angela

Scott a/k/a Angela G. Cagnasso (together, “Plaintiffs”) submit this [Proposed] Supplemental

Memorandum in Further Support of Counterclaim Plaintiffs’ Motion to Compel Inspection, Or,

in the Alternative, for Entry of Default Against Counterclaim Defendant Sawyer (“Supplemental

Memorandum”). This Supplemental Memorandum is limited to a discussion of evidence and

information that was unavailable at the time Plaintiffs filed their Memorandum and Reply

Memorandum in support of their motion to compel inspection (“Inspection Motion”) [ECF Nos.

83, 84, 86].1



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  Local Rule 4.01 permits the filing of a motion, a response to a motion, and a reply in support of
a motion and specifies that “[a]dditional memoranda may be filed by either party only with leave
of Court.” E.D. Mo. L.R. 4.01(C). “A party that wishes to file additional briefing after a reply
must file a motion for leave of Court to do so, must explain in the motion for leave why
       In particular, Plaintiffs need to inform the Court that Sawyer refused to confirm at his

recent deposition that his attorney’s filing of the opposition to the Inspection Motion [ECF No.

85] and statements contained therein, made purportedly on Sawyer’s behalf, were

authorized by Sawyer, or that they truthfully represent Sawyer’s personal views. See, e.g.,

Exhibit A, Deposition Transcript of Andrew Sawyer (“Tr.”) at 53:14-21 (refusing to answer the

question, “Mr. Sawyer, does document 85 reflect any of your views and positions?”); see infra

II.A. Indeed, Geordie Duckler, Sawyer’s counsel, insisted that Sawyer made no representations

to the Court at all—and perhaps did not even understand what was stated in Document No. 85:

   MR. DUCKLER: . . . you’re incorrect that [Sawyer] made representations to the Court. I
   think he may be misunderstanding what was written. He didn’t write any representations to
   the Court. That was me.

Tr. at 46:3-13.

       When he was repeatedly questioned about the specific representations made by Mr.

Duckler in Document No. 85, Sawyer refused to own up to any of them:

       Q: And the statements that Mr. Duckler made on your behalf, are those reflective of your
       views and your positions in this case?

       MR. DUCKLER: So I’ll object to that question on the grounds of the deponent’s
       constitutional rights against self-incrimination.

       THE WITNESS: I refuse to answer the question pursuant to my constitutional right
       against self-incrimination.

Tr. 72:7-14; see also infra II.A.

       Since it cannot be determined whether any of the representations in Document No. 85

accurately reflect Sawyer’s personal views, they are not entitled to any credence. Moreover, the




additional briefing is necessary, and must submit the proposed additional briefing along with the
motion for leave.” Davis v. Jomp, No. 4:16-CV-229 CAS, 2017 WL 1407293, at *1 (E.D. Mo.
Apr. 20, 2017).
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establishment of a privilege that is personal to Sawyer is fundamentally incompatible with the

rank speculation in which this Court would have to engage in divining whether Sawyer’s actual

beliefs and contentions are consistent with the purported fear of self-incrimination claimed by his

counsel.

       In addition, at his deposition, Sawyer invoked the Fifth Amendment privilege in response

to each question eliciting substantive information about the conditions and whereabouts of Joey,

and he refused to identify any witnesses, documents, or other evidence relating to the merits of

this case. See infra II.B. This contradicts Sawyer’s counsel’s contention in Document No. 85 that

“alternative” means exist for Plaintiffs to take discovery about the treatment and circumstances

in which Joey is presently held. By first hiding Joey and then refusing to provide any

information about Joey’s whereabouts, treatment, or condition—including the identity of

witnesses and documents from which such information may be gleaned, Sawyer effectively

precluded a determination on the merits of Plaintiffs’ case.

       Accordingly, good cause exists to grant Plaintiffs’ request for leave to present this after-

acquired information regarding Sawyer’s testimony, because that information is both highly

relevant and it will assist the Court in determining the merits of the pending Inspection Motion.

See, e.g., United States v. Reed, No. 4:12 CR 59 CDP, 2012 WL 4343406, at *1 (E.D. Mo. Sept.

24, 2012), aff’d, 545 F. App’x 579 (8th Cir. 2013) (granting leave to file a supplemental

memorandum after a hearing “following receipt of the transcript”); Kinder v. Geithner, No. 1:10

CV 101 RWS, 2011 WL 1576721, at *2 (E.D. Mo. Apr. 26, 2011), aff'd, 695 F.3d 772 (8th Cir.

2012) (granting motion to file a supplemental memorandum where, subsequent to initial briefing,

an additional development “squarely impact[ed]” the issues raised by the pending motion and

provided “an additional basis” to rule on the pending motion); Johnson v. Midcoast Aviation, No.



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4:06-CV-1805(CEJ), 2008 WL 3200801, at *4 (E.D. Mo. Aug. 6, 2008) (providing “leave of

Court to subsequently file a supplemental memorandum . . . based on the after-acquired evidence

doctrine”).

II. ARGUMENT

       A. The After-Acquired Information Confirms That Mr. Duckler’s Purported Fifth
          Amendment Privilege Claim Regarding His Client Is Purely Speculative

       Among the central issues presented by the Inspection Motion is whether Sawyer

properly, i.e., “personally,” invoked the Fifth Amendment privilege, in light of the fact that

Document No. 85 relies solely on the argument of his counsel about what a generic citizen or

defendant or individual might assert or might have cause to fear. [ECF No. 85, at 1-3]. As

Plaintiffs have pointed out, at no time does Sawyer himself personally, affirmatively, claim the

privilege. [ECF No. 87, at 10].

       Whether Sawyer personally harbored any of the alleged fears of self-incrimination that

Document No. 85 attributed to these nameless citizens, defendants, or individuals was the subject

of several questions at Sawyer’s July 13 deposition. However, Sawyer refused to provide any

substantive response that would shed light on whether he has such fears, or whether he knows

evidence that would support fears of prosecution. Instead, Sawyer invoked the Fifth Amendment

in response to the following questions:

       Q: Mr. Sawyer, through your counsel you represented to the Court that there are
       instances in civil matters where the criminal liability of a party might manifest,
       and accusations by activist organizations under the Endangered Species Act 16
       USC Section 1540, et seq. against other private citizens form a classic example.
       Please identify all such instances of which you are aware.

Tr. at 10:1-10.

       Q: So you also represented to the Court that information demanded of defendants
       in a civil [Endangered Species Act case] . . . is almost guaranteed to later be used



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         against them in some fashion in a separate yet related criminal case. Do you have
         any information to back up that claim?

Tr. at 10:18-25.

         Q: So these alleged fears of prosecution if you reveal Joey’s location, which your
         lawyer asserted on your behalf, you’re not going to provide any evidence that this
         is a real concern that you individually have?

Tr. at 11:8-11.

         Sawyer was then provided with a copy of Document No. 85 (Tr. at 47:11-25) and was

asked a number of questions about that document and representations made therein. Invoking the

Fifth Amendment, Sawyer refused to answer all of the following questions that would shed light

on whether he authorized the filing of Document No. 85 (or any other filing in this case), if he

was aware of representations contained therein, and if those representations accurately reflect his

views:

         Q: . . .you are the one who initiated the proceedings in which you are now
         testifying; is that right?

Tr. at 58:24-25 to 59:1.

         Q: And in those papers and filings your lawyers made various representations to
         the Court. You're aware of that?

Tr. at 59:22-24.

         Q: And these representations in the filings on your behalf, did those filings and
         representations reflect your views and positions?

Tr. at 60:8-10.

         Q: So because you refuse the question, we have to guess whether or not the filings
         made on your behalf actually reflect your views and positions; is that right?

Tr. at 60:18-21.

         Q: So you would have to speculate as to whether or not what your lawyers filed
         on your behalf actually reflected your views and position; is that right?



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Tr. at 61:5-7.

       Q: Sitting here today, do any of the filings in which your lawyers make
       representations on your behalf incorrectly reflect your views?

Tr. at 61:15-17.

       Q: …are you the person who instructed your lawyers to file the various filings
       that were made in your name in this matter?

Tr. at 64:23-25.

       Q: Just to be clear, did you or did you not authorize your lawyers to file the
       various filings that they filed under your name in this case?

Tr. at 68:14-16.

       With respect to the filing of, and specific representations contained in, Document No. 85,

the following questions and answers bear quoting in their entirety, because they make clear that

the Court would need a crystal ball to divine what, if anything, stated in that document is true—

with respect to Sawyer’s own position in this matter:

       Q: If you still have in front of you what has been filed in this case docket No. 85,
       it was filed on June 25th, 2018. If you kindly turn to page 8 of 10. At the top --
       you have this in front of you. At the top of the page this filing states, “For all the
       reasons stated Counter-Defendant Sawyer respectfully submits,” et cetera, et
       cetera. Do you see that?

       A: Yes.

       Q: Is there a different Counter-Defendant Sawyer than the one that is sitting here
       today?

       MR. DUCKLER: I will object to the question on the grounds of the deponent’s
       constitutional rights against self-incrimination.

       THE WITNESS: I refuse to answer the question pursuant to my constitutional
       right against self-incrimination.

       BY MS. BERNSTEIN:
       Q: You're refusing to tell me whether you are the Counter-Defendant Sawyer who
       made the filing document 85 to the Court?



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       MR. DUCKLER: I will object to the question on the grounds of the deponent's
       constitutional rights against self-incrimination.

       THE WITNESS: I refuse to answer the question pursuant to my constitutional
       right against self-incrimination.

Tr. at 69:3-25 to 70:1-3.

       Q: And the statements that Mr. Duckler made on your behalf, are those reflective
       of your views and your positions in this case?

       MR. DUCKLER: So I’ll object to that question on the grounds of the deponent’s
       constitutional rights against self-incrimination.

       THE WITNESS: I refuse to answer the question pursuant to my constitutional
       right against self-incrimination.

Tr. at 72:7-14.

       It is of course a bedrock principle that the Fifth Amendment privilege against self-

incrimination is a “purely personal right” and therefore cannot be asserted on behalf of

others. Rakas v. Illinois, 439 U.S. 128, 140 n.8 (1978) (citing Bellis v. United States, 417 U.S.

85, 89–90 (1974); Couch v. United States, 409 U.S. 322, 327–28 (1973); United States v. White,

322 U.S. 694, 698–99 (1944)); United States v. Bruton, 416 F.2d 310, 312 (8th Cir. 1969). At

most, in Document No. 85, Mr. Duckler has made certain claims to this Court that may (or may

not) have been authorized or understood by Sawyer, and that may (or may not) happen to

coincide with what Sawyer believes. Given Sawyer’s own refusal to confirm that this filing was

authorized or represents his position in this matter, there simply is no basis for the Court to

attribute the representations in Document No. 85 to Sawyer and to sustain the privilege as to

Sawyer, personally.

       B. The After-Acquired Information Shows That a Default Is the Only Proper
          Remedy for the Prejudice Caused by Sawyer’s Conduct

       Assuming that the Court nevertheless sustains Sawyer’s privilege claim, the Court must



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then determine an appropriate remedy. It is undisputed that in making this decision, the Court

considers whether there are alternative means to obtain the information and whether there are

effective remedies that would be less drastic than a terminating sanction. [ECF No. 85, at 6].

Sawyer’s attorney previously argued that a default is not appropriate here because Plaintiffs can

subpoena witnesses to ascertain information about Joey’s condition and treatment. [Id.] It is now

abundantly clear that this is incorrect.

       At his deposition, Sawyer invoked the privilege and refused to provide a substantive

response to all questions that attempted to elicit the identities of any witnesses or documents or

any other “alternative” sources of this information. Among other things, Sawyer invoked his

Fifth Amendment right in refusing to answer the following questions:

       Q: Please identify all persons with whom you communicated about the removal of
       Joey from the Missouri Primate Foundation and transferring him to another
       location.

Tr. at 42:4-7.

       Q: Please identify all written communications reflecting Joey’s removal and
       transfer after you received the notice letter.

Tr. at 42:15-17.

       Q: Do you have any communications or e-mails, text messages, written records
       regarding those communications?

Tr. at 45:9-11.

       Q: Sitting here today, can you identify any documents of which you are aware
       that contain information describing or reflecting Joey’s location or conditions?

Tr. at 51:8-11.

       Q: Can you identify any persons who have information about Joey’s whereabouts
       and present conditions?

Tr. at 51:19-21.



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       Q: And you fully intended not to disclose the identity of knowledgeable witnesses
       to the plaintiff; right?

Tr. at 52:18-20.

       Q: So when you represented to the Court that alternative means certainly exist to
       obtain this information, you knew full well that plaintiffs had no such means,
       didn’t you?

Tr. at 53:3-6.

       Q: Can you identify all persons who have knowledge of the conditions in which
       Joey is kept?

Tr. at 53:23-24.

       Q: Will you please identify all persons who have knowledge of the location in
       which Joey is kept?

Tr. at 54:7-8.

       Q: Will you identify all persons who presently care for Joey?

Tr. at 54:16-17.

       Q: Can you identify all documents that reflect Joey’s location?

Tr. at 54:25-56:1.

       Q: Can you identify all documents that reflect Joey’s care?

Tr. at 54:9-10.2

       In light of Sawyer’s initial spoliation of Joey and his subsequent refusal to identify any

sources of evidence that would shed light on the salient issues concerning Joey’s present

conditions and treatment, it is clear that there are no “alternative” means for Plaintiffs to discover

this information. Therefore, and for the additional reasons demonstrated in the Inspection

Motion, an entry of a default is the only means of effectively remedying the prejudice caused to



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 Invoking his Fifth Amendment right, Sawyer similarly refused to answer all other questions
pertaining to the merits of the case. Tr. at 8:5 to 72:14.
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Plaintiffs by Sawyer’s conduct.


Dated: August 1, 2018            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on August 2, 2018, the foregoing was electronically filed with the Clerk of

the Court using the CM/ECF system, by which notification of such filing was electronically sent

and served to the following:

       Brian Klar, bklar@lawsaintlouis.com
       Daniel T. Batten, dbatten@lawsaintlouis.com
       Attorneys for Plaintiff/Counterclaim Defendant Connie Braun Casey

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       And was served by regular mail on the following:

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                                                    /s/ Jared S. Goodman
